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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

                                                )
    In re:                                      ) Chapter 11
                                                )
    AEARO TECHNOLOGIES LLC, et al.,1            ) Case No. 22-02890-JJG-11
                                                )
                            Debtors.            ) (Jointly Administered)
                                                )

       UNITED STATES TRUSTEE’S OBJECTION TO DEBTORS’ FIRST DAY
    MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (I) AUTHORIZING
      THE DEBTORS TO PAY PREPETITION CLAIMS OF SPECIFIED TRADE
     CLAIMANTS, (II) GRANTING ADMINISTRATIVE EXPENSE PRIORITY TO
        ALL UNDISPUTED OBLIGATIONS ON ACCOUNT OF OUTSTANDING
        ORDERS, AND (III) GRANTING RELATED RELIEF (THE “CRITICAL
                            VENDORS MOTION”)


         In support of her Objection (the “Objection”) to the Debtors’ First Day

Motion For Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay

Prepetition Claims of Specified Trade Claimants, (II) Granting Administrative

Expense Priority to All Undisputed Obligations on Account of Outstanding

Orders, and (III) Granting Related Relief (the “Critical Vendors Motion”) Nancy

J. Gargula, the United States Trustee for Region 10 (the “U.S. Trustee”), by

and through her undersigned counsel, states as follows:




1
 The debtors in these cases are Aearo Technologies LLC, In re Aearo Holding
LLC, In re Aearo Intermediate LLC, Aearo LLC, Aearo Mexico Holding
Corporation, In re Cabot Safety Intermediate LLC, and 3M Occupational Safety
LLC. The debtors have requested that the cases be jointly administered. See
Docket in cases 22-02890-JJG-11, 22-02891-JJG-11, 22-02892-JJG-11, 22-
02893-JJG-11, 22-02894-JJG-11, 22-02895-JJG-11, and 22-02896-JJG-11.
The caption to the U.S. Trustee’s Objection is the caption proposed by debtors.
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                                 INTRODUCTION

      The Court should deny the Debtors’ Critical Vendors Motion or defer

entry of the proposed interim and final orders until the Debtors provide

adequate information to support the Critical Vendors Motion and more

adequate notice to creditors and parties in interest. Concurrent with this

Critical Vendors’ Motion, the Debtors also filed first day motions seeking to

extend the time to file Schedules and Statements of Affairs and to file a single

list of top law firms for their creditor matrix. See Case No. 22-02890-JJG-11,

Dkt. Nos. 16 and 17. According to the Critical Vendors Motion, the Debtors

have in excess of 230,000 tort creditors alone. As such, it appears that the

majority of the Debtors’ creditors will not receive notice of these filings until

after the proposed first day hearing on this Critical Vendors Motion. Moreover,

no creditors committee has been appointed nor can be appointed in time for a

committee to review the Critical Vendors Motion. Accordingly, the U. S. Trustee

submits that there is a public interest in ensuring that assets of the Debtors’

estates are not so speedily expended and on such limited notice.

      The Debtors have failed to identify any of the specific vendors, 503(b)(9)

Claimants, Lien Claimants, or Foreign Claimants2 to whom the proposed

payment of prepetition claims would be made. Nor have the Debtors specified

the actual proposed amounts to be paid to the unidentified vendors, 503(b)(9)

Claimants, Lien Claimants, or Foreign Claimants. Moreover, although the



2
 Capitalized terms not otherwise defined in this Objection have the meaning
ascribed in the Debtors’ Critical Vendors’ Motion.
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Debtors seek joint administration of the seven Debtors, these cases have not

been substantively consolidated and the Debtors have failed to identify which

Debtor owes which vendor or claimant. The only information provided is a

boilerplate recitation of case law on critical vendor motions, with the request

for authority to pay unidentified vendors and claimants, unidentified amounts,

owed by unidentified individual Debtors, all in contradiction to the normal

priorities of distribution, without adequate information as to why such

payments are truly critical and necessary. Consequently, it is not possible for

parties in interest to understand fully the particulars of the amounts of monies

to be paid from the Debtors’ estates.

                                JURISDICTION

      1.    This Court has jurisdiction to hear this Objection under 28 U.S.C.

§§ 157 and 1334.

      2.    Pursuant to 28 U.S.C. § 586, the U.S. Trustee is charged with the

administrative oversight of cases commenced pursuant to chapter 11 of title 11

of the United States Code (the “Bankruptcy Code”). This duty is part of the U.S.

Trustee’s overarching responsibility to enforce the bankruptcy laws as written

by Congress and interpreted by the courts. See United States Trustee v.

Columbia Gas Sys., Inc. (In re Columbia Gas Sys., Inc.), 33 F.3d 294, 295-96 (3d

Cir. 1994) (noting the U.S. Trustee has “public interest standing” under 11

U.S.C. § 307, which goes beyond mere pecuniary interest).

      3.    Under 11 U.S.C. § 307, the U.S. Trustee has standing to be heard

on any issue in any case or proceeding, including with regard to this Objection.


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                                 BACKGROUND

      4.     On July 26, 2022, the Debtors filed voluntary petitions for relief

under chapter 11 of Title 11 of the Bankruptcy Code.

      5.     An official committee of creditors has not yet been appointed in

this case.

      6.     The Debtors have continued in possession of their properties and

have continued to operate and maintain their business as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

      7.     Concurrently with the Critical Vendors Motion, the Debtors have

filed certain other motions and applications also seeking certain “first day”

relief on an emergent basis, including multiple other motions seeking authority

to pay pre-petition obligations at the outset of these cases.

      8.     The Debtors have also filed the Declaration of John R. Castellano

in Support of Debtors’ Chapter 11 Petitions and Requests for First Day Motions

(the “Castellano’s Declaration”) (Docket No. 11).

                                   ARGUMENT

     The Debtors Have Not Provided Adequate Information to Support
           the Necessity of Paying Vendors’ Prepetition Claims

      9.     Because the Debtors have failed to identify the vendors proposed to

be paid, the specific services each particular vendor provides, or the actual

amounts proposed to be paid to each particular vendor, the Debtors have not

provided adequate information and evidence to meet the high burden set forth

by the Seventh Circuit in In re Kmart Corp., 359 F.3d 866 (7th Cir. 2004),

necessary to establish that payment of pre-petition obligations for the proposed
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critical vendors is warranted or that the Debtors will suffer irreparable harm if

the relief sought is denied.

      10.    As the Seventh Circuit explained,

             Section 105(a) allows a bankruptcy court to “issue any
             order, process, or judgment that is necessary or
             appropriate to carry out the provisions of” the Code.
             This does not create discretion to set aside the Code's
             rules about priority and distribution; the power
             conferred by § 105(a) is one to implement rather than
             override. Every circuit that has considered the
             question has held that this statute does not allow a
             bankruptcy judge to authorize full payment of any
             unsecured debt, unless all unsecured creditors in the
             class are paid in full.

      In re Kmart Corp., 359 F.3d at 871 (citations omitted).

      11.    By the Critical Vendors Motion, the Debtors seek to pay the

unnamed creditors, who provide unidentified services and products, the full

amount of their pre-petition debt, while an unknown number of other creditors

in the same class may not be paid in full, or at all3.

      12.    The Debtors, however, have not adequately demonstrated that any

particular vendor would cease doing business with the Debtors if it is not paid

immediately. See In re Kmart, 359 F.3d at 868. Additionally, the Debtors have

not shown any evidence that discrimination among the creditors is the only

way to facilitate their reorganization or that they would truly be as well off if




3
 The Debtors have indicated their intention to not impair any creditor in these
cases through the Chapter 11 process. However whether they will be fully
successful in achieving that intention cannot be ascertained at this early stage
of these case filings. Castellano’s Declaration, footnote 22.
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the critical vendors are paid in full as they would be if the critical vendors are

not paid in full. Id.

      13.    The Debtors provide inadequate information regarding actual

efforts made to find alternate vendors, providing only generalities regarding the

process. The Debtors provide inadequate information as to the uniqueness of

the particular goods or products for which any of the critical vendors are to be

provided payment in full. Thus, they have not met their burden of proof to

show that dealing with any particular vendor is “virtually indispensable to

profitable operations or preservation of the estate.” In re CoServ, L.L.C., 273

B.R. 487, 498 (Bankr. N.D. Tex. 2002).

      14.    The Debtors do not show that any, or even most, of the vendors are

not just as reliant on the Debtors’ continuing business as the Debtors are

reliant on receiving the particular vendors’ continuing goods or services. See,

e.g. In re Kmart, 359 F.3d at 873 (observing that some supposedly critical

vendors will continue to do business with the debtor because they must). Nor

have the Debtors shown that they have explored alternate terms of payment.

See In re CoServ, L.L.C., 273 B.R. at 499 (“If payment is intended to assuage the

claimant's concern about future dealings, a deposit, collect on delivery terms,

payment on shipment and countless other devices are available that will not

offend the general principle that prepetition claims should not be paid.”).

      15.    The Debtors also fail to provide the Court and parties in interest

with the model form of agreement to be sent to the proposed “critical” vendors

or with the terms evidencing that the vendors will, in fact, provide the Debtors


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with ongoing goods or services. As explained in In re United Am., Inc., 327 B.R.

776, 784 (Bankr. E.D. Va. 2005),

            The court cannot allow the position [of critical vendor]
            to be abused. … [T]he remedy must be crafted to the
            circumstances of the case, … and should provide an
            adequate remedy …but not a windfall. … Part of a
            complete remedy must assure the debtor of the
            vendor’s future performance. There must be an
            obligation on the part of the critical vendor to provide
            future supplies and services. He may not accept the
            pre-petition payment and then terminate an at-will
            relationship.

      16.   Under such circumstances, at a minimum, prior to the entry of

even an interim order, the Court should require the Debtors to provide

creditors and parties in interest with adequate notice and an opportunity to

understand the specifics regarding the amounts proposed to be paid, the

identities of the creditors proposed to be paid, the specific services of each

such creditor to be paid, the terms under which the proposed critical vendors

would continue to provide services, and the actual efforts made to obtain

alternate providers or to negotiate the continuation of services without the

necessity of immediate, post-petition payment of prepetition claims. Adequate

notice of the actual relief to be granted and adequate time to object is the

minimum baseline required for these proposed extraordinary transactions.

      17.   Most significantly, because of their failure to include the true

details of the identity of the providers, the actual proposed payments, terms of

continued service, and the other information required by Seventh Circuit case

law, the Debtors have failed to meet their burden to demonstrate that there is a

true threat to the businesses as going concerns, see CoServ., 273 B.R. at 499,
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or to demonstrate, in fact, that denial of the Motion will result in immediate

and irreparable harm. Fed. R. Bankr. P. 6003.4

        18.   This holds true for the Foreign Claimants, who are also

unidentified. While in some cases, courts have held that a foreign creditor may

be paid as a critical vendor, see In re CoServ, L.L.C., 273 B.R. at 497, it is

incumbent upon the Debtors to identify each Foreign Claimant, the amount to

be paid, and to demonstrate the harm to the Debtors’ Estates if the particular

Foreign Claimant were not paid.

       The Debtors Have Not Provided Adequate Information to Support
           the Necessity of Immediate Payment of 503(b)(9) Claims

        19.   Likewise, the Debtors fail to identify the particular creditors they

seek to pay pursuant to 11 U.S.C. § 503(b)(9), the specifics of the goods

provided, or the dates on which the goods were actually received. Without

identifying the individual 503(b)(9) Claimants and the specifics of the goods

and dates received, the Debtors cannot meet the burden to demonstrate that

the proposed payments are appropriate under the statute.




4   Rule 6003 provides:

        Except to the extent that relief is necessary to avoid immediate and
        irreparable harm, the court shall not, within 20 days after the filing
        of the petition, issue an order granting the following:
        ***
        (b) a motion to use, sell, lease, or otherwise incur an obligation
        regarding property of the estate, including a motion to pay all or part
        of a claim that arose before the filing of the petition, but not a
        motion under Rule 4001.


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      20.   Moreover, as the Debtors acknowledge, the Code only requires

§ 503(b)(9) claims to be paid in full for the Debtors to confirm a chapter 11

plan. See 11 U.S.C. § 1129(a)(9)(A). It does not require immediate payment of

those claims, and the Code certainly does not provide for immediate payment of

such claims without even an identification of the claimant, the precise goods

received, or the precise amounts owed.

      21.   Rather, the Court has discretion to determine when administrative

claims may be paid and should consider factors such as prejudice to the

debtor, hardship to the claimant, and potential detriment to other creditors. In

re NE Opco, Inc., 501 B.R. 233, 259 (Bankr. D. Del. 2013) (citations and

quotations omitted). Moreover, to qualify for exceptional immediate payment,

both necessity and ability to pay must be proven. Id. (citations and quotations

omitted).

      22.   Further, Section 503(b)(9) pertains to goods, not services, but the

Debtors appear to lump services in with goods as part of the proposed

immediate payments to the 503(b)(9) Claimants. See In re Plastech Engineered

Products, Inc., 397 B.R. 828, 836 (Bankr. E.D. Mich. 2008) (denying payment of

portion of 503(b)(9) claim for labor services). Accordingly, the paucity of

information provided as to what goods were received, who supplied them and

whether some portion of the 503(b)(9) claims are also for services rather than

goods requires denial of the Motion.




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      The Debtors Have Not Provided Adequate Information to Support
       the Necessity of Immediate Payment of Potential Lien Claimants

      23.   The Debtors have not provided any information that demonstrates

why unidentified creditors who may have the right to assert mechanic’s liens or

warehouseman’s liens should be afforded immediate payment ahead of other

creditors. Indeed, the mere potential for liens to arise with respect to such

unidentified creditors does not create the likelihood of harm to the Debtors

such that the normal priorities of payment should be cast aside to allow the

extraordinary relief of immediate payment in full of prepetition claims. See In re

United Am., Inc., 327 B.R. at 785 (denying immediate payment to creditors who

did not yet have mechanics’ liens).

      24.   Further, the Debtors seek an extension of time to file their

Schedules, Statements of Affairs and other required documents, by an

additional twenty days, to and including August 29, 2022, for a total of thirty-

four days from the Petition Date, and without prejudice to the Debtors’ ability

to request additional extensions for cause shown. Dkt. No. 16. Additionally,

the Debtors seek permission to file consolidated matrices and to limit the

notice to parties during these crucial first phases of these cases. See Dkt. No.

17.

      25.   Moreover, a creditors committee has not yet been appointed, so the

majority of the creditors will likely have no notice and no voice in these

proceedings until after many significant matters have been presented to the

Court. This lack of notice to so many of the creditors militates against the entry

of orders disposing of estate assets on such an expedited basis. Rather, the
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U.S. Trustee submits that the Court should deny the Critical Vendors Motion

and should preserve the status quo until all parties in interest have adequate

notice and may make informed decisions as to whether they should respond or

object to the relief sought.

                                  CONCLUSION

      For the reasons set forth herein, the U.S. Trustee requests that the Court

deny the Critical Vendors Motion, or at a minimum, defer entry of an order

authorizing any payments until other creditors and parties in interest have at

least some opportunity, even on shortened notice, to consider the Critical

Vendors Motion and submit responses to the Court. The U.S. Trustee reserves

the right to submit additional objections in the event the Debtors provide

further details regarding the substance of the proposed transactions, or to

withdraw her Objection, as the case may be, should the Debtors provide the

evidence to support the Critical Vendors Motion.



Date: July 26, 2022                           Respectfully submitted,

                                              NANCY J. GARGULA
                                              United States Trustee

                                      By:     /s/ Harrison E. Strauss
                                              Harrison E. Strauss
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                           CERTIFICATE OF SERVICE

        I hereby certify that on July 26, 2022, a copy of the foregoing Objection
was filed electronically. Notice of this filing will be sent to the following parties
through the Court’s Electronic Case Filing System. Parties may access this
filing through the Court’s system.


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       I further certify that on July 26, 2022, a copy of the foregoing Objection
was mailed by first-class U.S. Mail, postage prepaid, and properly addressed to
the following:

      None
                                             /s/ Harrison E. Strauss
                                             Harrison E. Strauss
                                             Trial Attorney




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